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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION

UNITED STATES OF AMERICA                                                   PLAINTIFF

VS.                           NO. 4:12CR00143-03-KGB

JAMEEL L. LAWS                                                           DEFENDANT


                                       ORDER

       On May 17, 2013, a hearing was held on the Government’s third motion to revoke

the pretrial release of Defendant Jameel L.Laws. (Docket entry #100) Mr. Laws appeared

on a summons and contested the alleged violations of release conditions. Testimony was

offered on behalf of both parties.

       After considering the evidence presented and argument of counsel, the motion to

revoke bond is DENIED. Mr. Laws has had clean drug tests since the last revocation

hearing, and now has employment. Mr. Laws will remain on bond conditions as

previously imposed.

       IT IS SO ORDERED this 17th day of May, 2013.




                                        UNITED STATES MAGISTRATE JUDGE
